                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF TEXAS
                                     WACO DIVISION

 PROTRADENET, LLC                    §
                                     §
        Plaintiff.                   §
                                     §            Consolidated
 v.                                  §       Civil Action No. 6:18-CV-38-ADA
                                     §
 PREDICTIVE PROFILES, INC.           §
                                     §
         Defendant.                  §
_____________________________________________________________________________

 PREDICTIVE PROFILES, INC.  §
                            §
       Plaintiff.           §
                            §
 v.                         §
                            §
 PROTRADENET, LLC AND DWYER §
 FRANCHISING, LLC,          §
                            §
       Defendants.          §

         PROTRADENET’S AND DWYER’S MOTION FOR ATTORNEYS’ FEES
                    AND MEMORANDUM IN SUPPORT

TO THE HONORABLE JUDGE OF SAID COURT:

        COME NOW Plaintiff ProTradeNet, LLC (“ProTradeNet”) and Dwyer Franchising, LLC

(“Dwyer” or “Dwyer Franchising” herein), and files this Motion seeking an award of attorneys’ fees

and other related non-taxable expenses and Memorandum in support thereof. Fed. R. Civ. P. 54(d)(2).

This Motion is being submitted pursuant to the Court’s order in ECF 120. In support thereof,

PTN/Dwyer would show the honorable Court as follows:

        Plaintiff and Counter-Defendants are ProTradeNet LLC and Dwyer Franchising LLC.

        Defendant and Counter-Plaintiff is Predictive Profiles, Inc.

        On February 19, 2020, the clerk entered judgment for ProTradeNet and Dwyer Franchising

after a bench trial.
        To recover attorneys’ fees, the party must be considered the prevailing party. The prevailing

party is the party that success on any significant issue in the litigation and success provides some

benefit that had been sought by the party. See Hensley v. Eckerhart, 461 U.S. 424, 433 (1983);

Thoroughbred Software Int’l, Inc. v. Dice Corp., 488 F.3d 352, 362 (6th Cir. 2007). In the present case,

Movants are the prevailing party because the relief sought by ProTradeNet and Dwyer Franchising

was awarded and the relief sought by Predictive was denied.

        ProTradeNet is entitled to attorneys’ fees because the parties entered into an agreement that

provides for the award of attorneys’ fees. Chevron Intellectual Prop., LLC v. Allen, No. 7-08-CV-98-O,

2009 U.S. Dist. LEXIS 74751 at *8 (N.D. Tex., Aug. 24, 2009).

        Dwyer Franchising is entitled to attorneys’ fees because the injunctive claims for relief granted

to Dwyer are an exceptional case. Additionally, the Court found that this case constitutes an

exceptional case. ECF 118 at 26. . Section 35(a) of the Lanham Act allows an award of attorneys’

fees in exceptional cases where the violative acts are deliberate or willful. 15 U.S.C. § 1117(a). “[A]n

award of attorney fees is premised on the defendant’s ‘knowing’ conduct.” Microsoft Corp. v. Software

Wholesale Club, Inc., 129 F. Supp. 2d 995, 1011 (S.D. Tex. 2000). “A district court should consider all

the facts and circumstances in determining whether a case is exceptional.” Pebble Beach Co. v. Tour 18 I

Ltd., 155 F.3d 526, 555 (5th Cir. 1998) (citing CJC Holdings Inc. v. Wright & Lato, Inc., 979 F.2d 60, 65

& n. 2 (5th Cir. 1992) (applying the same standard for “exceptional” in patent cases to trademark

cases). There is no “precise rule or formula” for evaluating those relevant facts, but they include

Defendant’s willfulness in conducting its infringing activity, in addition to “the unreasonable manner

in which the case was litigated.” Octane Fitness, LLC v. ICON Health & Fitness, Inc., 134 S.Ct. 1749,

1756 (2014) (emphasis added). In the instant case, the Court has already found that “Predictive has

acted with reckless disregard for the Dwyer Groups rights or were willfully blind in connection with

their unlawful activities” and that “Predictive has willfully and maliciously engaged in its infringing
activities. ECF 118 at 25. This formed the basis of this Court’s finding that “this case constitutes an

exceptional case as defined by 15 U.S.C. § 1117(a).” ECF 118 at 26.

        After the Court determines that the case is exceptional, it must then determine whether the

fee award is appropriate. Howlink Glob. LLC v. Centris Info. Servs., LLC, No. 4:11CV71, 2015 WL

216773, at *5 (E.D. Tex. Jan. 8, 2015) (citing Motorola, Inc. v. Interdigital Tech. Corp., 121 F.3d 1461,

1467–68 (Fed. Cir. 1997); Sulzer Textil A.G. v. Picanol N.V., 358 F.3d 1356, 1370 (Fed. Cir. 2004)). The

willful nature of Predictive Profile’s infringement, coupled with the unreasonable manner in which it

litigated this case is the high degree of culpability that supports an award of Dwyer’s reasonable

attorneys’ fees.

        “Determination of reasonable attorneys’ fees involves a two-step procedure.” Louisiana Power

& Light Co. v. Kellstrom, 50 F.3d 319, 323-24 (5th Cir. 1995). “Initially, the district court must determine

the reasonable number of hours expended on the litigation and the reasonable hourly rates for the

participating lawyers.” Id. at 324. Next, “the district court must multiply the reasonable hours by the

reasonable hourly rates.” Id. “The product of this multiplication is the lodestar, which the district

court then either accepts or adjusts upward or downward, depending on the circumstances of the

case.” Id. The Court’s determination of the amount is reviewed for “clear error.” Id.

        In this case, ProTradeNet and Dwyer’s attorneys’ fees are reasonable and were necessary to

obtain the favorable judgment, and these fees are supported by the declarations of Jim Dunnam and

Victor C. Johnson. The reasonable value for the time worked on this case is as reflected in Exhibits

A and B.     The billable amounts are reasonable. The attorneys that led the trial have decades of

combined experience and have successfully litigated several intellectual property and commercial

contract litigation matters

        The number of hours expended, multiplied by the attorneys’ hourly rates may be adjusted

upwards or downwards based upon the facts of the specific case, including such factors as the results
obtained. For example, “did Predictive Profiles, Inc. achieve a level of success that makes the hours

reasonably expended a satisfactory basis for making a fee award?” In this case, ProTradeNet and

Dwyer prevailed on the entirety of the case, including its request for a finding of willful infringement

and they were also successful in defending against Predictive’s claims.

        The fees that ProTradeNet and Dwyer seek are reasonable fee under the Lodestar method.

None of those hours would have been necessary without Predictive Profiles’ willful infringement, nor

would they have been necessary had Predictive Profiles abided by its contractual obligations. The

manner in which Predictive Profiles litigated the case, include willful violation of the injunction, added

thousands of dollars to Dwyer’s attorneys’ fees.

        ProTradeNet and Dwyer’s attorneys’ fees for this type of case were reasonable and necessary,

and ProTradeNet and Dwyer’s counsel’s hourly rates are customary for the type of litigation in the

Waco Division. For the reasons set forth herein, ProTradeNet and Dwyer request that the Court

award attorneys’ fees pursuant to 15 U.S.C. § 1117(a) based on its prior determination that this case

constitutes an exceptional case and the evidence presented herein and that attorneys’ fees are also to

be awarded under the agreement in question, and exercise its discretion to award ProTradeNet and

Dwyer the entirety of their attorneys’ fees in the amount of $455,769.71 through trial and $100,000 in

the event ProTradeNet and Dwyer are successful on appeal.

        ProTradeNet and Dwyer Franchising ask the Court to set this motion or hearing to the extent

this motion is contested by Predictive Profiles, Inc.

        For these reasons, ProTradeNet and Dwyer Franchising ask the Court to award attorneys’ fees

as set forth herein.

                                                         Respectfully submitted,

                                                         /s/Jim Dunnam________________________
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ATTORNEYS FOR PROTRADENET
AND DWYER FRANCHISING
                                CERTIFICATE OF SERVICE

   This is to certify that a true and correct copy of the above and foregoing has been sent via the
Court’s electronic filing system to counsel for Predictive Profiles on March 2, 2020.

                                               /s/ Jim Dunnam
                                             Jim Dunnam
